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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

CRYSTAL HARDEN,
Plaintiff,
“VS- Case No. 09-CV-564
PENNCRO ASSOCIATES, INC.,
Defendant.

 

STIPULATION OF DISCONTINUANCE
IT_ IS HEREBY STIPULATED AND AGREED, by and between the
undersigned, the attorneys of record for all parties to the above-entitled action, that
whereas no party hereto is an infant, incompetent person for whom a committee has been
appointed or conservatee, and no person not a party has an interest in the subject matter
of the action, the above-entitled action be, and the same hereby is discontinued on the
merits and with prejudice, without costs to either party as against the other. This

stipulation may be filed without further notice with the Clerk of the Court.

 

 

DATED: January 271, 2010 DATED: January 2g 2010

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